Label Matrix for local noticing        Aidvantage                                        Alexis Kamp
0981-3                                 Attn: Bankruptcy                                  4602 S 1300 East
Case 24-41481-MJH                      Po Box 300001                                     Millcreek, UT 84117-5044
Western District of Washington         Greenville, TX 75403-3001
Tacoma
Tue Jul 30 14:14:41 PDT 2024
Bank of America                        Bank of America                                   Capital One
Attn: Bankruptcy                       PO Box 672050                                     Attn: Bankruptcy
4909 Savarese Circle                   Dallas, TX 75267-2050                             Po Box 30285
Tampa, FL 33634-2413                                                                     Salt Lake City, UT 84130-0285


Capitol One                            Clint Martin                                      Corbin T. Volluz
PO Box 60519                           1124 S Brookwood Dr                               711 S 1St
City of Industry, CA 91716-0519        Springville, UT 84663-2817                        Mount Vernon, WA 98273-3812



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Morgan, UT 84050-9354                  St Louis, MO 63179-0322                           Salt Lake City, UT 84109-1864



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Hepworth Legal                         (p)INTERNAL REVENUE SERVICE                       IRS
c/o Michael Hepworth                   CENTRALIZED INSOLVENCY OPERATIONS                 Bankruptcy Notices
320 W 500 S Ste. 200                   PO BOX 7346                                       PO Box 7346
Bountiful, UT 84010-7254               PHILADELPHIA PA 19101-7346                        Philadelphia, PA 19101-7346


Jason Kamp                             Jason Kamp                                        Jenifer L Tomchak
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Salt Lake City, UT 84129-2074          Taylorsville, UT 84129-2074                       Salt Lake City, UT 84101-1554



John Dehlin                            Jennifer Ruth Kamp                                Keri Witbeck
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                                       Gig Harbor, WA 98335-2412


Law Office of Corbin T. Volluz         Michael G. Malaier                                Mountain America CU
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Mount Vernon, WA 98273-3812            Ruston, WA 98407-6599                             Boise, ID 83704-5268



Mountain America Credit Union          Mountain America Fcu                              Lance E Olsen
Attn: Bankruptcy                       660 S 200 East                                     McCarthy & Holthus, LLP
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                Case 24-41481-MJH   Doc 23-5     Filed 07/30/24            Ent. 07/30/24 15:27:14      Pg. 1 of 2
Open Stories Foundation                               Open Stories Foundation                              SallieMae
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David C. Smith                                        Synchrony Bank/Sams Club                             Tomchak Skolout Law
Attorney at Law                                       Attn: Bankruptcy                                     c/o Jenifer Tomchak
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                                                                                                           Salt Lake City, UT 84101-1554

United States Trustee                                 (p)UNITED WHOLESALE MORTGAGE                         United Wholesale Mortgage, LLC
700 Stewart St Ste 5103                               585 SOUTH BLVD E                                     c/o McCarthy & Holthus, LLP
Seattle, WA 98101-4438                                PONTIAC MI 48341-3163                                108 1st Avenue South, Ste. 300
                                                                                                           Seattle, WA 98104-2104


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Tacoma, WA 98402-5293



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


IRS                                                   (d)Internal Revenue Service                          United Wholesale Mortgage
915 Second Ave, SPF Office                            P.O. Box 21126                                       Attn: Bankruptcy
Seattle, WA 98174                                     Philadelphia, PA 19114                               585 South Boulevard East
                                                                                                           Pontiac, MI 48341




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                       End of Label Matrix
                                                      Mailable recipients    39
                                                      Bypassed recipients     1
                                                      Total                  40




                  Case 24-41481-MJH              Doc 23-5       Filed 07/30/24         Ent. 07/30/24 15:27:14            Pg. 2 of 2
